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AO-106 (Rev: 06/09)-Application for Search Warrant

UNITED STATES DISTRICT CouRTR I L BR D

for the DEC 4 2024
Northern District of Oklahoma Heidi D. Cam A crank
U.S. DISTRICT COURT

Case No. ANS Tob ry

FILED UNDER SEAL

In the Matter of the Search of
an Apple iPhone 13 Pro Max IMEI 352396477497065
and a Samsung Galaxy Al5 5G IMEI 353283321739943

Ne ee ee

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment “A”
located in the _Northern_ District of Oklahoma, there is now concealed (identify the person or describe the property to be

seized):

See Attachment “B”

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
M evidence of a crime;
M contraband, fruits of crime, or other items illegally possessed;

M1 property designed for use, intended for use, or used in committing a crime;
O aperson to be arrested or a person who is unlawfully restrained.
The search is related to a violation of:

Code Section Offense Description

21 U.S.C. § 846 Drug Conspiracy

The application is based on these facts:
See Affidavit of Kyle Boeck, attached hereto.

M1 Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103 103a, the basis of which is set forth on the attached sheet.

Kole Brod

A pplicant’ 8 signature

SA Kyle Boeck, FBI

Printed name and title

Subscribed and sworn to by phone.

Date: 1a [4 [gu oni Ques

Judge's hae re

City and state: Tulsa, Oklahoma Jodi F. a U.S. Magistrate Judge

Printed name and title
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

In the Matter of the Search of an Case No
Apple iPhone 13 Pro Max IMEI °
352396477497065 and a Samsung UND
353283321739943

Affidavit in Support of an Application
Under Rule 41 for a Warrant to Search and Seize

I, Kyle Boeck, being first duly sworn under oath, depose and state:
Introduction and Agent Background

1. I make this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a warrant authorizing the examination of
property—an Apple iPhone 13 Pro Max IMEI 352396477497065 and a Samsung
Galaxy A15 5G IMEI 353283321739943—and the extraction from that property of
electronically stored information described in Attachment B.

2. lam a federal law enforcement officer as defined under Rule 41(a)(2)(C) and
am authorized to request this search warrant because I am a government agent who
is engaged in enforcing federal criminal laws and I am within the category of officers
authorized by the Attorney General to request such a warrant. I am a Special Agent
of the Federal Bureau of Investigation (“FBI”) and have been so employed since
December 2022. My duties and responsibilities include conducting criminal
investigations of individuals and entities for possible violations of Federal laws,

particularly those laws found in Title 18 and Title 21 of the United States Code.
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3. Through my training, education, and experience, I have become familiar with
the manner in which individuals involved in public corruption and drug related
crimes operate, and the efforts of those involved in such activity to avoid detection
by law enforcement. I know, based upon my training and experience, as well as
information relayed to me during the course of my official duties, that criminals
involved in public corruption and drug related crimes, routinely use a variety of
different methods and platforms to communicate relating to their criminal activity,
including but not limited to wire and electronic communication facilities, including
multiple cellular telephones, public telephones, the internet, including email, social
media networks and applications (e.g. Facebook Messenger, Pinger, CashApp).

4. 1am familiar with the facts and circumstances of this investigation. The facts
set forth in this affidavit are based on my personal observations, knowledge obtained
from other law enforcement officers, my review of documents related to this
investigation, conversations with others who have personal knowledge of the events
and circumstances described herein, and a review of open-source information
including information available on the Internet. Because this affidavit is submitted
for the limited purpose of establishing probable cause in support of the application
for a search warrant, it does not set forth each and every fact I or others have learned
during the course of this investigation.

5. Based on my training, experience, and the facts set forth in this affidavit, there
is probable cause to believe that evidence of violations of Title 21, United States

Code, Section 846 (Drug Conspiracy) will be located in the electronically stored

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information described in Attachment B and is recorded on the devices described in
Attachment A.
Identification of the Devices to be Examined

6. The property to be searched is an Apple iPhone 13 Pro Max IMEI
352396477497065 and a Samsung Galaxy A15 5G IMEI 353283321739943 (the
“Devices”).

7. The applied-for warrant would authorize the forensic examination of the
Devices for the purpose of identifying electronically stored data particularly
described in Attachment B.

Probable Cause

8. The FBI has been investigating violations of Title 21, United States Code,
Section 846 (Drug Conspiracy), involving Vincent Delmarco BERRY, Mateaka
Mignon MANSKER, Jessica Janay BALDWIN, Michael Ray CRAWLEY and
other individuals participating in the trafficking of methamphetamine and fentanyl
from Tulsa, Oklahoma to the Oklahoma State Penitentiary in McAlester, Oklahoma.

9. On December 4, 2024, based on a Complaint signed in the Northern District of
Oklahoma, an arrest warrant was issued for MANSKER for engaging in a Drug
Conspiracy to traffic fentanyl and methamphetamine, in violation of Title 21, United

States Code, Section 846.
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Background drug trafficking investigation

10. On April 7, 2024, McIntosh County Sheriff's Office Deputy Christian
Degraffenreid pulled over a black car driven by CRAWLEY after observing multiple
traffic infractions. The traffic stop occurred off I-40 near mile marker 267, in the
Eastern District of Oklahoma. Jessica Janay BALDWIN was the only passenger in
the vehicle. While conducting the traffic investigation and speaking with
CRAWLEY and BALDWIN, Deputy Degraffenreid smelled the odor of marijuana
and subsequently searched the vehicle. He found suspected drugs and drug
paraphernalia, to include oxycodone blue circle pills, white crystal-like substance,
white powder-like substance, five black cylinders wrapped in electrical tape,
marijuana, white bar pills, a digital scale, and a methamphetamine pipe. Upon
speaking with BALDWIN, he learned that she intended to bring the suspected drugs
into the prison where she worked in McAlester, Oklahoma. She also told Deputy
Degraffenreid she had methamphetamines and marijuana in the vehicle.

11. BALDWIN was subsequently confirmed to be a librarian with the Oklahoma
State Penitentiary in McAlester, Oklahoma. The illegal narcotics, suspected drugs,
paraphernalia, and BALDWIN’S Apple iPhone 13 cell phone were seized. The
drugs were later sent to the lab for testing and were confirmed to be Fentanyl,
Methamphetamine, Alprazolam, and Marijuana. BALDWIN was arrested and

charged in McIntosh County District Court case number CF-2024-73A with various
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drug trafficking offenses. She has since been terminated from her employment at the
prison.

12. On April 9, 2024, I interviewed BALDWIN at the McIntosh County Jail,
where she is still currently held, with DOC OIG Agent Kyle Jones. After advising
her about her rights, BALDWIN agreed to speak.

13. BALDWIN stated she had been solicited by prison inmate Vincent Delmarco
BERRY to bring contraband into the prison on his behalf. BALDWIN said BERRY
communicated with her in person and via Facebook Messenger. BALDWIN further
stated that BERRY put her in contact with a female associate outside of prison who
texted her from multiple different phone numbers. BALD WIN described meeting
with this female associate in multiple different locations, including the Walmart in
McAlester as well as the Jason’s Deli located at 61st and Memorial in Tulsa, within
the Northern District of Oklahoma. BALDWIN explained when she met with the
female, she received packages to bring into the prison for BERRY. BALDWIN
admitted she had picked up the drugs from BERRY’S female associate in Tulsa just
hours before she was arrested.

14. During BALDWIN’S interview, Agent Jones showed her a photograph of a
female. BALDWIN stated the female wore a surgical mask at their meetings, but the
female in the photo appeared to be the person with whom she met in Tulsa on

BERRY’S behalf. Agent Jones also played a jail call between a female and BERRY,
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and BALDWIN also positively identified the voice as belonging the female she met
with, which was the same female in the photograph.

15. Based on information provided by DOC, the photograph depicted Mateaka
Mignon MANSKER, one of BERRY’S frequent visitors from outside of prison. The
jail call Agent Jones played for BALDWIN was also identified as a call between
MANSKER and BERRY. The jail call came from Verizon Wireless phone number
918-388-7321, which is associated with MANSKER. Based information from
Verizon Wireless received on June 12, 2024, the subscriber of 918-388-7321 is
Meshanyel Mansker, MANSKER’s relative according to open-source reporting.
MANSKER also used 918-388-7321 as her phone number on her bank account.
Based on other open-source reports, MANSKER’s email is teakabently@gmail.com,
which was used to register the same phone number. MANSKER further wrote “918-
XXX-7321” as her phone number for prison visitor logs when visiting BERRY.
MANSKER has also used T-Mobile, USA Inc. number 918-840-1302 to make prison
phone calls to BERRY. Based on information provided by T-Mobile, USA Inc. on
June 11, 2024, the subscriber of phone number 918-840-1302 is MANSKER. She
also listed this as her phone number on her bank account. Based on open-source
research, surveillance and car loan information, I determined that MANSKER

resides at 1800 West Albany Drive, Apt 1213, Broken Arrow, Oklahoma 74012,

within the Northern District of Oklahoma.
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16. BERRY was previously incarcerated at the Oklahoma State Penitentiary in
McAlester and is currently incarcerated in Lawton Correctional and Rehabilitation
Facility in Lawton as of July 2024. He is serving a life sentence for first degree
murder in Tulsa County District Court case number CF-2008-4532. He was
previously convicted of various drug trafficking and witness tampering charges in
Tulsa County District Court case numbers CF-2008-3891 and 2009-541. Based on
DOC records, BERRY is a validated member of the Security Threat Group
Neighborhood Crips in Tulsa, Oklahoma.

17. On April 9, 2024, District Attorney Investigator Kevin Branscum extracted
BALDWIN’S Apple iPhone 13 pursuant to a State of Oklahoma search warrant and
provided me with a copy of the extraction on April 16.

18. I reviewed BALD WIN’S cell phone extraction and found relevant text
message conversations to BALDWIN from three separate telephone numbers
associated with the Pinger messaging application: 262-944-6249, 972-688-0408, and
405-901-6076. The content of these Pinger messages was consistent with
BALDWIN’S account of the events leading up to her arrest.

19, Pinger provided that 262-944-6249, 972-688-0408, and 405-901-6076 are used
by the application TextFree. TextFree is an application developed and published by
Pinger. Use of the TextFree App allows Android and iOS Wi-Fi enabled devices to
be used to make free telephone calls as well as to send and receive text messages.

TextFree also allows users to choose their own phone number.
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20. Pinger provided information indicating that the telephone numbers 262-944-
6249 and 405-901-6076 were associated with Pinger Account ID 1095719665, which
was associated with email address teakabently@gmail.com, MANSKER’s email.
The telephone number 972-688-0408 was associated with Pinger Account ID
1650852597, which was registered to “Delmarco Berry,” which are BERRY’S
middle and last names. During a second interview of BALDWIN on May 13, she
confirmed these were the numbers she communicated through to coordinate drug
pick-ups and drop-offs for BERRY. She also confirmed BERRY goes by the
nickname “V”.

21. The following is a sample text message from 972-688-0408, associated with

Pinger Account ID 1650852597, to BALD WIN pertaining to “V”:

Date/Time Message Content
09/30/23 at “Hey good morning girl I just wanted to let you know I work
6:47:12 AM UTC | today all day. And half tomorrow so we can meet tomorrow I
gotta grab money and wrap stuff today and tomorrow okay?
V said check messenger as well”

The above example illustrates 972-688-0408 planning to “wrap stuff’ and “grab
money.” It also confirms how BALDWIN stated BERRY communicated with her.
Through my interview of BALDWIN, I know that when BALDWIN met with
MANSKER, she was usually paid in cash and given packages to bring into the

Oklahoma State Penitentiary.
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22. The following is a sample of additional relevant communications between

BALDWIN and 405-901-6076, associated with Pinger Account ID 1095719665,

pertaining to smuggling contraband into the prison:

Date/Time Participants Message Content
12/06/2023 | From: 405-901-6076 | “Are you gone be able to bring 1 today and the
at 7:22:16 | To: BALDWIN others as discussed or do I need to come down
AM UTC there today and pick ‘em up with my money as
well”
12/06/2023 | From: 405-901-6076 | “The person that do em actually did attempt to
at 7:23:40 | To: BALDWIN make them smaller. I did measure them they
AM, UTC are smaller than what they have been. But if
you feel like you can’t then I’m calling into
work to come grab it all back”
12/06/2023 | From: BALDWIN | “I can't get the number one to stay in there. It's
at 7:25:54 | To: 405-901-6076 uncomfortable when I walk it won't stay so I'm
AM UTC just gonna take two today because I don't
know what else to do. I'll have to figure out in
the morning something with the other one I
don't have time to do it this morning, but yeah
I'm a little bitty thing I can't handle shit like
that. Unfortunately unfortunately.”
12/06/2023 | From: 405-901-6076 | “I’m about to see if he wants you to do that or
at 7:29:06 | To: BALDWIN if he wants me to come get it all. For future
AM UTC references we gone start looking at em together
before you just take off cause i don’t like the
confusion of if it’ll be able to be done or not. I
can know at that time before handing things
over w/ my money.”

Based on my interview of BALDWIN, to avoid detection when bringing the

packages into prison, she “keistered” them within her body. Based on my training

and experience, I know “keistering” is a commonly practiced concealment and

transport method to place contraband inside the body within the vagina or anus. I

know through my interview of BALDWIN and the McIntosh County incident report

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that the packages BALDWIN “keistered” to bring into the prison contained

suspected drugs. Based on evidence seized from the arrest of BALDWIN, the

suspected drugs wrapped in black tape were numbered. Based on the above text

messages, BALDWIN and 405-901-6076 are referencing the numbered drug

packages.

23. The following is a sample of additional relevant communications between

BALDWIN the various telephone numbers associated with Pinger Account [Ds

1095719665 and 1650852597 pertaining to canine detection units at the prison:

Date/Time Participants Message Content

07/27/2023 | From: BALDWIN | “When I was showing up for work there were

at 10:34:12 | To: 262-944-6249 several k9 trucks and shit out front I had to

AM UTC turn around and take that back home wasn't
worth the risk of trying it. It was pretty obvious
what was gonna happen today so let him know
what's going on but I'll catch back up
tomorrow and I can do.”

11/21/2023 | From: BALDWIN | “The canine unit is at work I kept driving.

at 8:02:18 To: 972-688-0408 What do you want me to do? I'm not pulling

AM UTC him with this on me. It's too much of a risk do
I do.”

Based on my training and experience, canine units are often used by law

enforcement agencies to detect the presence of drugs. BALDWIN did not want to

bring anything to Oklahoma State Penitentiary when canine units were present,

which shows that BALDWIN was attempting to bring drugs into prison without

detection.

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24. The following is a sample of communications by BALDWIN with the various
telephone numbers associated with Pinger Account IDs 1095719665 and 1650852597

pertaining to drop-off and pickup of the contraband:

Date/Time Participants Message Content
01/09/2024 | From: BALDWIN | “I put it where it supposed to be today”
at 10:20:42 | To: 972-688-0408
AM UTC
03/11/2024 | From: 405-901-6076 | “He said you can bring it to h-block today his
at 7:14:05 | To: BALDWIN guy waiting”

AM UTC

H-block is a unit within Oklahoma State Penitentiary that houses inmates. I know
through the interview of BALDWIN that she would usually drop the drug packages
off in the H-Block hallway employee restroom. Correctional Officers unlock the
restroom for inmate orderlies to clean it. They do not watch the inmates closely
while they clean.

25. MANSKER used the TextFree application to communicate with Baldwin
about the drug conspiracy. I believe she had the TextFree application on her phone,
as she states in her text messages to BALDWIN. MANSKER also appears to go by

the alias “Keisha”:

Date/Time Participants Message Content
2023-11-20 at | From: 405-901-6076 | “This Keisha my other phone died. I have a
14:21:53 To: BALDWIN hair appt today I can’t make it to glenpool at
UTC 430 period. Either you can come way earlier

before I have stuff to do I MAY be done at 530
I may not I'll be getting my hair done. You are
more than welcome to be there at 530 though.
You may have to sit either way cause it’s gone
be a drive for me to get to glenpool”

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26. Based on Pinger text messages from 972-688-0408, an account subscribed to
by “Delmarco Berry” and Facebook Messenger messages to BALDWIN from
account “Lucianno Lewis,” an account partially identified by BALDWIN in her
interview and acquired in a search warrant of BALD WIN’s cell phone, I observed
that BERRY has utilized a contraband cell phone while incarcerated in prison. Based
on my training and experience, contraband cell phones are frequently used by
inmates for drug trafficking purposes in prison. It is likely BERRY currently
maintains a cell phone while incarcerated. The following messages are examples of

BERRY using a cell phone while in prison for drug trafficking:

Date/Time Participants Message Content
2024-02-17 at | From: 972-688-0408 | “Hell yeah this Venum nobody use my phone
13:47:31 To: 918-934-5592 loc ask Iz”
UTC
2024-02-17 at | From: 972-688-0408 | “Hell yeah some gas and I do 22 chaps but I
14:19:17 To: 918-934-5592 got the Gugu and tree for you. Y'all still don't
UTC have no halal tray to use? If so I could get

Gugu and tree in it”

2024-04-06 at | From: “Lucianno “T'll have everything wrapped today”
2:19:23 Lewis” Facebook
PM(UTC+0) | Messenger

To: BALDWIN

Based on my training and experience, “Gugu” is a slang term for methamphetamine
and “tree” is a slang term for marijuana. Halal food trays are a means to smuggle
drugs to specific inmates. According to DOC OIG, BERRY also goes by the alias
“Venom.”

27. Due to MANSKER’s attempts to obfuscate and hide communications with
BALDWIN via the TextFree application, there is probable cause to believe that she

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had alternative electronic methods for hiding her communications with different
people using other applications through her Verizon Wireless and T-Mobile, USA
Inc. phone numbers in furtherance of the drug conspiracy. Based on my training and
experience, having separate phones with service from different communication
providers is also a means of obfuscating communications that are likely in
furtherance of the drug conspiracy.

28. Based on communications between MANSKER and BALDWIN to
coordinate drug pick-up meetings, there is also probable cause to believe MANSKER

had her phone with her at the meetings:

Date/Time Participants Message Content
2024-01-20 at | From: 405-901-6076 | “We won’t be able to meet up at the same
14:32:57 To: BALDWIN place I'll since I’Il be at work but it won’t be far
UTC from where we do. I’ll send you the address”
2024-03-25 at | From: 405-901-6076 | “Are you here”
23:59:05 To: BALDWIN
UTC

29. In Pinger text messages from 972-688-0408 on March 28, 2024, BERRY
sends a picture of what appears to be marijuana to an unknown person and then
proceeds to give the Chime account $BerryM, an account owned by MANSKER, for
payment. In Pinger text messages from 972-688-0408 on December 19, 2023,

3) Ge

BERRY communicated with an unknown person regarding “tree,” “gugu,” and
“brown,” which from my training and experience, I know to be marijuana,
methamphetamine, and tobacco, respectively. He then proceeded to give the Chime

account, $MainLine, for payment. Chime accounts $BerryM and $MainLine

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continued to have transactions with each other after BALD WIN’s arrest to include
$1,030 on June 2, 2024, and $225 on each June 13, June 19, June 27, and July 14,
2024.

30. BERRY and BALDWIN are incarcerated. MANSKER remains free, residing
in Broken Arrow. According to open-source reports, BERRY and MANSKER were
married on September 24, 2024. MANSKER and BERRY had recent prison phone
calls in September 2024. MANSKER visited BERRY in prison recently in September
and October 2024. BERRY was transferred to the Lawton Correctional and
Rehabilitation Facility in Lawton, Oklahoma in July 2024, following the Oklahoma
DOC investigation of his drug trafficking activity with BALDWIN.

Mansker’s Two Electronic Devices

31. Pursuant to a federal warrant issued on November 15, 2022, the FBI began
tracking MANSKER’S cell phones assigned to phone numbers 918-388-7321 and
918-840-1302. The FBI identified the devices assigned to those phone numbers as an
Apple iPhone 13 Pro Max IMEI 352396477497065 and a Samsung Galaxy A15 5G
IMEI 353283321739943, respectively.

32. FBI surveillance has confirmed MANSKER’S physical presence at her home
and her known place of business, which is located in Tulsa. Tracking information
associated with the Devices indicates that MANSKER almost always has both
Devices near her when she is at both locations. Tracking information shows that

neither of the Devices are typically separated.

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33. As set forth above, MANSKER has used both phone numbers to call BERRY
in prison. Records from Verizon and T-Mobile also show that she has had both
phone numbers at times relevant to the drug conspiracy, and that they are currently
assigned to the Devices. Block, Inc. provided that the accounts receiving illicit funds
were accessed by an iPhone and other devices. City National Bank, one of the banks
where the Block, Inc. funds were sent, provided that MANSKER’S account was
accessed by an iPhone. Accordingly, there is probable cause to believe that both
Devices were used to contact and coordinate with BERRY, BALDWIN, and other
co-conspirators using Facebook Messenger, Pinger, other social media or messaging
applications, and money transfer applications such as CashApp and Chime.
Furthermore, there is probable cause to believe evidence of such activities in
furtherance of their drug trafficking activities will be stored in those phones. Data
from those phones could also identify unknown co-conspirators in the drug
conspiracy.

Technical Terms

34. Based on my training and experience, I use the following technical terms to
convey the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone, or
cellular telephone) is a handheld wireless device used for voice and data
communication through radio signals. These telephones send signals

through networks of transmitter/receivers, enabling communication

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with other wireless telephones or traditional “land line” telephones. A
wireless telephone usually contains a “call log,” which records the
telephone number, date, and time of calls made to and from the phone.
In addition to enabling voice communications, wireless telephones offer
a broad range of capabilities. These capabilities include: storing names
and phone numbers in electronic “address books;” sending, receiving,
and storing text messages and e-mail; taking, sending, receiving, and
storing still photographs and moving video; storing and playing back
audio files; storing dates, appointments, and other information on
personal calendars; and accessing and downloading information from
the Internet. Wireless telephones may also include global positioning
system (“GPS”) technology for determining the location of the device.
b. Digital camera: A digital camera is a camera that records pictures as
digital picture files, rather than by using photographic film. Digital
cameras use a variety of fixed and removable storage media to store
their recorded images. Images can usually be retrieved by connecting
the camera to a computer or by connecting the removable storage
medium to a separate reader. Removable storage media include various
types of flash memory cards or miniature hard drives. Most digital
cameras also include a screen for viewing the stored images. This
storage media can contain any digital data, including data unrelated to

photographs or videos.

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c. Portable media player: A portable media player (or “MP3 Player” or
iPod) is a handheld digital storage device designed primarily to store
and play audio, video, or photographic files. However, a portable media
player can also store other digital data. Some portable media players
can use removable storage media. Removable storage media include
various types of flash memory cards or miniature hard drives. This
removable storage media can also store any digital data. Depending on
the model, a portable media player may have the ability to store very
large amounts of electronic data and may offer additional features such
as a calendar, contact list, clock, or games.

d. GPS: A GPS navigation device uses the Global Positioning System to
display its current location. It often contains records the locations where
it has been. Some GPS navigation devices can give a user driving or
walking directions to another location. These devices can contain
records of the addresses or locations involved in such navigation. The
Global Positioning System (generally abbreviated “GPS”) consists of 24
NAVSTAR satellites orbiting the Earth. Each satellite contains an
extremely accurate clock. Each satellite repeatedly transmits by radio a
mathematical representation of the current time, combined with a
special sequence of numbers. These signals are sent by radio, using
specifications that are publicly available. A GPS antenna on Earth can

receive those signals. When a GPS antenna receives signals from at

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least four satellites, a computer connected to that antenna can
mathematically calculate the antenna’s latitude, longitude, and
sometimes altitude with a high level of precision.

e. PDA: A personal digital assistant, or PDA, is a handheld electronic
device used for storing data (such as names, addresses, appointments or
notes) and utilizing computer programs. Some PDAs also function as
wireless communication devices and are used to access the Internet and
send and receive e-mail. PDAs usually include a memory card or other
removable storage media for storing data and a keyboard and/or touch
screen for entering data. Removable storage media include various
types of flash memory cards or miniature hard drives. This removable
storage media can store any digital data. Most PDAs run computer
software, giving them many of the same capabilities as personal
computers. For example, PDA users can work with word-processing
documents, spreadsheets, and presentations. PDAs may also include
global positioning system (“GPS”) technology for determining the
location of the device.

f. IP Address: An Internet Protocol address (or simply “IP address”) is a
unique numeric address used by computers on the Internet. An IP
address is a series of four numbers, each in the range 0-255, separated
by periods (e.g., 121.56.97.178). Every computer attached to the

Internet computer must be assigned an IP address so that Internet traffic

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sent from and directed to that computer may be directed properly from
its source to its destination. Most Internet service providers control a
range of IP addresses. Some computers have static—that is, long-term—
IP addresses, while other computers have dynamic—that is, frequently
changed—IP addresses.

g. Internet: The Internet is a global network of computers and other
electronic devices that communicate with each other. Due to the
structure of the Internet, connections between devices on the Internet
often cross state and international borders, even when the devices
communicating with each other are in the same state.

35. Based on my training, experience, and research, I know that the Apple
iPhone 13 Pro Max IMEI 352396477497065 and the Samsung Galaxy A15 5G
IMEI 353283321739943 have capabilities that allow it to serve as a wireless
telephone, digital camera, portable media player, GPS navigation device, and PDA.
In my training and experience, examining data stored on devices of this type can
uncover, among other things, evidence that reveals or suggests who possessed or
used the device.

Electronic Storage and Forensic Analysis
36. Based on my knowledge, training, and experience, I know that electronic

devices can store information for long periods of time. Similarly, things that have

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been viewed via the Internet are typically stored for some period of time on the
device. This information can sometimes be recovered with forensics tools.

37. I know that cellular telephones are often equipped with digital cameras and
those phones possess the capability to transmit and/or store electronic images. I
know that in many cases, cellular telephones maintain photographs of illegal
activities to include evidence of illegal drug trafficking. These photos are sometimes
stored in their cellular phones and often are transmitted or sent from one electronic
media device to another. I also know that cellular phones may also contain notes
regarding potential illegal acts that are recorded by the subject who possesses the
electronics. Furthermore, I know that text messages, emails are often used by two or
more persons to communicate information regarding illegal activities, between
principals and co-conspirators of those crimes.

38. I know that cellular telephones are utilized by the majority of individuals in
the United States and have become a staple of communication between individuals
using text messaging, visual and audible communications (telephone calls and
FaceTime type communications) as well as applications like “Whatsapp”, “Pinger”
and “Facebook Messenger.” Additionally, individuals utilize their cellular devices to
take pictures, keep notes, as a GPS (global positioning System) device, and even to
conduct illicit or illegal activity. Communications on phones are kept for long
periods and transferred from one phone to another when replaced. This is done
through the use of Cloud storage and direct transfer conducted at the time of

purchase or by the individual themselves. Individuals utilize this method as not to

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lose data that is stored on the phone such as contacts, photos, notes, and other
important information to the individual. This data includes contacts used to conduct
illegal activities to include drug trafficking.

39. Based on my education, training, and experience, I know that individuals
involved in the use, sales, manufacturing, and transportation of illegal narcotics often
use cell phones and other electronic devices to further their trade by conducting
business on them via text messages and phone calls. I also know from my training,
education, and experience that:

a. Drug distributors/traffickers commonly maintain books, records, receipts,
notes, ledgers, and other documents/papers both electronically and in
paper form, which relate to the transportation, ordering, sale, and
distribution of controlled substances, even though such documents may be
in code and/or identify customers/sources/co-conspirators through
monikers/nicknames. Documentation such as this oftentimes results
because drug distributors/traffickers commonly “front” drugs (provide
controlled substances on consignment) to their clients and must account for
these transactions in order to collect outstanding drug debts.

b. Drug distributors/traffickers commonly maintain addresses or telephone
numbers in notebooks, papers, cellular phones, computers and electronic
storage media which reflect names, address, and/or telephone numbers for

their associates in the drug distribution/trafficking organization, even if

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said items may be in code, and such traffickers send and receive items
listed in this affidavit by mail and other common carriers.

c. Drug users, distributors and traffickers frequently take, or cause to be taken
photographs or videotapes of themselves, their associates, their
property/assets, and their product, and these individuals usually maintain
these photographs or recordings/videos in the residences under their
control. These photographs and videos are also often found in the
individual’s cellular telephone, computers and other electronic storage
media.

d. Cellular telephones are often used to facilitate offenses and allow criminals
to maintain communication with each other before, during and after the
commission of offenses. I am aware that cellular telephones have the
capacity to store a vast amount of information, including but not limited
to: telephone numbers, voice messages, text messages, e-mail,
photographs, videos, address books, records, phone call histories, contact
and other information. This information may be contained on the cellular
telephone.

e. Text messages and e-mails are often used by two or more persons to
communicate information regarding illegal activities between two
telephones or between one telephone and a personal computer. This
information can include directions for deliveries, stash locations, prices,

cell phone contact numbers, and instructions.

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f. Cellular telephones often contain stored phone numbers and contact
information of individuals that conduct business with other co-conspirators
that possess the cellular telephone.

g. When drug users/dealers/traffickers use text messages to discuss topics
such as quantities, prices, and the quality of controlled dangerous
substances, as well as dates, times and locations for drug transactions, these
communications are often in coded drug talk/jargon and require review by
peace officers experienced in deciphering such communications.

h. In my experience, and from other law enforcement officers’ experience, in
searching cellular telephones possessed by known drug
users/distributors/traffickers, photos and/or videos have been discovered
which evidence the use and distribution of controlled dangerous substances
and the proceeds intended for or derived therefrom. This evidence often
depicts pictures/videos of drugs for showing drug quality, condition or
quantity. Moreover, users will commonly document episodes of drug use
in social settings. Additionally, drug distributors will take pictures
(“trophy” pictures) or otherwise capture digital recordings for the purpose
of memorializing their credibility/capability as a drug dealer and
accomplishments (acquisition of assets/large amounts of U.S. currency)
relating thereto.

i. In all phases of drug distribution, the utilization of cellular telephones is

essential. Drug users/dealers/traffickers use cellular telephones to place

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calls, as well as communicate by SMS text messaging. As drug dealing
necessarily entails constant communications with accomplices, co-
conspirators, clients, and sources, these communications virtually always
take place by voice calls and text messaging over cellular telephones.

j. Cellular telephones are almost always used by drug distributors as a way to
communicate. They will communicate by verbal conversations, digital text
messaging, and/or sending photographs to one another. To avoid
detection, drug distributors will oftentimes speak in coded language or
through use of vague messages. Sometimes the cellular telephone numbers
they use are listed in a different individual’s name or they will frequently
change phone numbers. Drug distributors will often “drop” or switch
cellular phones to avoid detection by law enforcement. This will result in
the accumulation of several different cellular phones.

40. Forensic evidence. As further described in Attachment B, this application
seeks permission to locate not only electronically stored information that might serve
as direct evidence of the crimes described on the warrant, but also forensic evidence
that establishes how the Devices were used, the purpose of its use, who used it, and
when. There is probable cause to believe that this forensic electronic evidence might
be on the Devices because:

a. Data on the storage medium can provide evidence of a file that was once

on the storage medium but has since been deleted or edited, or of a deleted

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portion of a file (such as a paragraph that has been deleted from a word
processing file).

b. Forensic evidence on a device can also indicate who has used or controlled
the device. This “user attribution” evidence is analogous to the search for
“indicia of occupancy” while executing a search warrant at a residence.

c. A person with appropriate familiarity with how an electronic device works
may, after examining this forensic evidence in its proper context, be able to
draw conclusions about how electronic devices were used, the purpose of
their use, who used them, and when.

d. The process of identifying the exact electronically stored information on a
storage medium that is necessary to draw an accurate conclusion is a
dynamic process. Electronic evidence is not always data that can be merely
reviewed by a review team and passed along to investigators. Whether data
stored on a computer is evidence may depend on other information stored
on the computer and the application of knowledge about how a computer
behaves. Therefore, contextual information necessary to understand other
evidence also falls within the scope of the warrant.

e. Further, in finding evidence of how a device was used, the purpose of its
use, who used it, and when, sometimes it is necessary to establish that a
particular thing is not present on a storage medium.

41. Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the

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device consistent with the warrant. The examination may require authorities to
employ techniques, including but not limited to computer-assisted scans of the entire
medium, that might expose many parts of the device to human inspection in order to
determine whether it is evidence described by the warrant.

42. Manner of execution. Because this warrant seeks only permission to examine a
device already in law enforcement’s possession, the execution of this warrant does
not involve the physical intrusion onto a premises. Consequently, I submit there is
reasonable cause for the Court to authorize execution of the warrant at any time in
the day or night.

43. Methods of examination. In conducting this examination, law enforcement
personnel may use various methods to locate evidence and instrumentalities of the
crime(s) under investigation, including but not limited to undertaking a cursory
inspection of all information within the Device. This method is analogous to
cursorily inspecting all the files in a file cabinet in an office to determine which paper
evidence is subject to seizure. Although law enforcement personnel may use other
methods as well, particularly including keyword searches, I know that keyword
searches and similar methods are typically inadequate to detect all information
subject to seizure. As an initial matter, keyword searches work only for text data, yet
many types of files commonly associated with stored cellular device data, such as
pictures and videos, do not store as searchable text. Moreover, even as to text data,
keyword searches cannot be relied upon to capture all relevant communications

associated with a cellular device, as it is impossible to know in advance all of the

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unique words or phrases investigative subjects will use in their communications.
Consequently, often many communications in cellular device data that are relevant
to an investigation do not contain any searched keywords.

Conclusion

44. Based on the information above, I submit that there is probable cause for a
search warrant authorizing the examination of the Devices described in Attachment
A to seek the items described in Attachment B.

45. I request to be allowed to share this affidavit and the information obtained
from this search with any government agency, to include state and local agencies
investigating or aiding in the investigation of this case or related matters, and to
disclose those materials as necessary to comply with discovery and disclosure
obligations in any prosecutions from this matter.

Respectfully submitted,

‘Hole. Bro

Kyle Boeck
Special Agent
FBI

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Subscribed and sworn to by phone on December u , 2024.

Oona On—
JODI KE/JAYNEY —
UNITED STATES MAGISTRATE JUDGE

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ATTACHMENT A
Property to be Searched
The property to be searched is an Apple iPhone 13 Pro Max IMEI
352396477497065 and a Samsung Galaxy A15 5G IMEI 353283321739943 (the
“Devices”). This warrant authorizes the forensic examination of the Devices for the

purpose of identifying the electronically stored information described in Attachment

B.
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ATTACHMENT B
Particular Things to be Seized
All records on the Devices described in Attachment A that relate to the unlawful
drug possession and distribution in violation of Title 21, United States Code, Section
846 (Drug Conspiracy), including:

1. Records relating to communication with others as to the criminal offense(s)
listed above; including incoming and outgoing voice messages; text messages;
emails; multimedia messages; applications that serve to allow parties to
communicate; all call logs; secondary phone number accounts, including those
derived from Skype, Line 2, Google Voice, and other applications that can
assign roaming phone numbers; and other Internet-based communication
media;

2. Records relating to documentation or memorialization of the criminal
offense(s) listed above, including voice memos, photographs, videos, and other
audio and video media, including Exchangeable Image File (“EXIF”) data
and any other metadata associated with those photos and videos, including
device information, geotagging information, and information about the
creation date of the audio and video media;

3. Records relating to the planning and execution of the criminal offense(s)
above, including Internet activity, firewall logs, caches, browser history, and

cookies, “bookmarked” or “favorite” web pages, search terms that the user
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entered into any Internet search engine, records of user-typed web addresses,
account information, settings, and saved usage information;

4, Application data relating to the criminal offense(s) above;

5. Lists of customers and related identifying information;

6. Types, amounts, and prices of drugs trafficked as well as dates, places, and
amounts of specific transactions;

7. Any information related to sources of drugs (including names, addresses,
phone numbers, or any other identifying information);

8. All bank records, checks, credit card bills, account information, and other
financial records;

9. Evidence of user attribution showing who used or owned the Devices at the
time the things described in this warrant were created, edited, or deleted, such
as logs, phone books, saved usernames and passwords, documents, and
browsing history; and

10. All records and information related to the coordination, agreement,
collaboration, and concerted effort of and with others to violate the criminal
statutes listed above.

As used above, the terms “records” and “information” include all of the foregoing

items of evidence in whatever form and by whatever means they may have been
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created or stored, including any form of computer or electronic storage (such as flash
memory or other media that can store data) and any photographic form.

This warrant authorizes a review of electronic storage media and electronically
stored information seized or copied pursuant to this warrant in order to locate
evidence, instrumentalities, and/or fruits described in this warrant. The review of
this electronic data may be conducted by any government personnel assisting in the
investigation, who may include, in addition to law enforcement officers and agents,
attorneys for the government, attorney support staff, and technical experts. Pursuant
to this warrant, the FBI may deliver a complete copy of the seized or copied
electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.
